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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
                                                 :
              v.                                 :   Case No. 21-cr-123 (PLF)
                                                 :
VITALI GOSSJANKOWSKI,                            :
                                                 :
        Defendant.                               :

                                     JOINT STATUS REPORT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and counsel for Vitali GossJankowski (“the defendant”), hereby submit

the following Joint Status Report:

       1. On November 10, 2021, the government obtained a superseding indictment (ECF No.

           41).

       2. A status conference is scheduled for January 13, 2022.

       3. The parties request the defendant be arraigned on the superseding indictment at the

           January 13, 2022 status conference.

       4. The government continues to provide voluminous discovery to the defense.
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      5. The parties believe it is in the interest of justice to toll the Speedy Trial Act while the

         government continues to provide discovery. The parties thus request a tolling of the

         Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A), based on the factors described

         in 18 U.S.C. 3161(h)(7)(B)(i) and (iv), as well as 18 U.S.C. § 3161(h)(1)(G).

         Therefore, the parties request an exclusion of time under the Speedy Trial Act from

         January 13, 2022, through the next scheduled status date.


      Respectfully submitted,

      MATTHEW M. GRAVES
      United States Attorney

By:
            /s/                                             /s/
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